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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                               Eastern Division

Ubiquiti Networks, Inc.
                                       Plaintiff,
v.                                                        Case No.: 1:18−cv−05369
                                                          Honorable Gary Feinerman
Cambium Networks, Inc., et al.
                                       Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, May 1, 2019:


        MINUTE entry before the Honorable Gary Feinerman:Unopposed motion to
substitute attorney [55] is granted. Attorneys Elizabeth Brooke Herrington, Mark Louis
Krotoski, Robert C. Bertin and Amy Michele Dudash are terminated as counsel for
Plaintiff. Substitute counsel may file their appearances. Motion hearing set for 5/6/2019
[56] is stricken.Mailed notice.(jlj, )




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Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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